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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

     MICHAEL LEAL
                                                        Case No.: 1:22-cv-00150-MRB-KLL
                         Plaintiff,
                 v.                                     Judge Michael R. Barrett
     FELICIA BEDEL
                                                        Magistrate Judge Karen L. Litkovitz
                         Defendants.

                  ANSWER OF DEFENDANTS FELICIA BEDEL AND SAM ADAMO

        Defendants Felicia Bedel and Sam Adamo respectfully submit this answer to the

Complaint.

                                              PARTIES

1.      Defendant Bedel lacks knowledge or information sufficient to form a belief about the

        truth of the allegations in Paragraph 1. Defendant Adamo lacks knowledge or information

        sufficient to form a belief about the truth of the allegations in Paragraph 1.

2.      Defendant Bedel denies the allegations in Paragraph 2, except that she admits to residing

        in Ohio and to being in a romantic relationship with Plaintiff beginning in 2018 and

        marrying him in 2020. Defendant Adamo lacks knowledge or information sufficient to

        form a belief about the truth of the allegations in Paragraph 2.

3.      Defendant Bedel lacks knowledge or information sufficient to form a belief about the

        truth of the allegations in Paragraph 3. Defendant Adamo lacks knowledge or information

        sufficient to form a belief about the truth of the allegations in Paragraph 3.

4.      Defendant Bedel lacks knowledge or information sufficient to form a belief about the

        truth of the allegations in Paragraph 4. Defendant Adamo lacks knowledge or information

        sufficient to form a belief about the truth of the allegations in Paragraph 4.
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5.    Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 5. Defendant Adamo denies the allegations in

      Paragraph 5, except she admits that she uses the @whatdoesitmatternow,

      @mrssamanthaanne and @iamsam.xo usernames, and that she has no personal

      relationship with Plaintiff.

                                JURISDICTION AND VENUE

6.    Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 6. Defendant Adamo lacks knowledge or information

      sufficient to form a belief about the truth of the allegations in Paragraph 6.

7.    Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 7. Defendant Adamo lacks knowledge or information

      sufficient to form a belief about the truth of the allegations in Paragraph 7.

                                 FACTUAL BACKGROUND

8.    Defendant Bedel denies the allegations in Paragraph 8. Defendant Adamo denies the

      allegations in Paragraph 8.

9.    Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 9. Defendant Adamo lacks knowledge or information

      sufficient to form a belief about the truth of the allegations in Paragraph 9.

10.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 10. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 10.

11.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 11. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 11.


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12.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 12. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 12.

13.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 13. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 13.

14.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 14. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 14.

15.   Defendant Bedel denies the allegations in Paragraph 15, except that she admits marrying

      Plaintiff, that Plaintiff had substance-abuse issues, and that they struggled to have

      children. Defendant Adamo lacks knowledge or information sufficient to form a belief

      about the truth of the allegations in Paragraph 15.

16.   Defendant Bedel denies the allegations in Paragraph 16. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 16.

17.   Defendant Bedel denies the allegations in Paragraph 17, except she admits that Plaintiff

      abused her and that she reported abuse to the police. Defendant Adamo lacks knowledge

      or information sufficient to form a belief about the truth of the allegations in Paragraph

      17.

18.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 18. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 18.




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19.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 19. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 19.

20.   Defendant Bedel denies the allegations in Paragraph 20, except that she admits

      attempting to reconcile. Defendant Adamo lacks knowledge or information sufficient to

      form a belief about the truth of the allegations in Paragraph 20.

21.   Defendant Bedel denies the allegations in Paragraph 21. Defendant Adamo denies the

      allegations in Paragraph 21.

22.   Defendant Bedel denies the allegations in Paragraph 22. Defendant Adamo denies the

      allegations in Paragraph 22.

23.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 23. Defendant Adamo denies the allegations in

      Paragraph 23, except that she admits she has posted nondefamatory statements on TikTok

      and Instagram.

24.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 24. Defendant Adamo admits the allegations in

      Paragraph 24.

25.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 25. Defendant Adamo denies the allegations in

      Paragraph 25, except that she admits receiving photos from and talking to a follower in a

      restaurant.




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26.   Defendant Bedel denies the allegations in Paragraph 26. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 26.

27.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 27, except that she admits deleting Plaintiff's birth

      certificate, phone number, and banking information for approximately two minutes after

      posting them. Defendant Adamo lacks knowledge or information sufficient to form a

      belief about the truth of the allegations in Paragraph 27.

28.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 28. Defendant Adamo denies the allegations in

      Paragraph 28, except that she admits reposting one of Plaintiff's photos.

29.   Defendant Bedel denies the allegations in Paragraph 29. Defendant Adamo denies the

      allegations in Paragraph 29.

30.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 30. Defendant Adamo denies the allegations in

      Paragraph 30, except that she admits making a substantially similar statement.

31.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 31. Defendant Adamo denies the allegations in

      Paragraph 31, except she admits that she posted a purported medical record that Plaintiff

      had already disclosed and that she posted a message indicating that Plaintiff was no

      longer in a hospital.

32.   Defendant Bedel denies the allegations in Paragraph 32. Defendant Adamo denies the

      allegations in Paragraph 32.




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33.   Defendant Bedel denies the allegations in Paragraph 33. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 33.

34.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 34. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 34.

35.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 35. Defendant Adamo denies the allegations in

      Paragraph 35.

36.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 36. Defendant Adamo denies the allegations in

      Paragraph 36.

37.   Defendant Bedel denies the allegations in Paragraph 37. Defendant Adamo denies the

      allegations in Paragraph 37.

38.   Defendant Bedel denies the allegations in Paragraph 38. Defendant Adamo denies the

      allegations in Paragraph 38.

39.   Defendant Bedel denies the allegations in Paragraph 39. Defendant Adamo denies the

      allegations in Paragraph 39.

40.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 40. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 40,

      except that she denies that any statements were false or defamatory.




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41.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 41. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 41,

      except that she denies that any statements were false or defamatory.

42.   Defendant Bedel denies the allegations in Paragraph 42. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 42, except that she denies Plaintiff was maliciously attacked.

43.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 43. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 43.

                     COUNT I (DEFAMATION - LIBEL AND LIBEL PER SE)

44.   Defendants Bedel and Adamo incorporate every answer set forth above as though fully

      set forth herein.

45.   Defendant Bedel denies the allegations in Paragraph 45. Defendant Adamo denies the

      allegations in Paragraph 45.

46.   Defendant Bedel denies the allegations in Paragraph 46. Defendant Adamo denies the

      allegations in Paragraph 46.

47.   Defendant Bedel denies the allegations in Paragraph 47. Defendant Adamo denies the

      allegations in Paragraph 47.

48.   Defendant Bedel denies the allegations in Paragraph 48. Defendant Adamo denies the

      allegations in Paragraph 48.

49.   Defendant Bedel denies the allegations in Paragraph 49. Defendant Adamo denies the

      allegations in Paragraph 49.




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50.   Defendant Bedel denies the allegations in Paragraph 50. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 50, except that she denies that any statements were false or defamatory.

51.   Defendant Bedel denies the allegations in Paragraph 51. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 51, except that she denies that any statements were false or defamatory.

52.   Defendant Bedel denies the allegations in Paragraph 52. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 52, except that she denies that any statements were false or defamatory.

53.   Defendant Bedel denies the allegations in Paragraph 53, except she admits that Plaintiff

      requests a permanent injunction. Defendant Adamo denies the allegations in Paragraph

      53, except she admits that Plaintiff requests a permanent injunction.

                                     COUNT II (FALSE LIGHT)

54.   Defendants Bedel and Adamo incorporate every answer set forth above as though fully

      set forth herein.

55.   Defendant Bedel denies the allegations in Paragraph 55. Defendant Adamo denies the

      allegations in Paragraph 55.

56.   Defendant Bedel denies the allegations in Paragraph 56. Defendant Adamo denies the

      allegations in Paragraph 56.

57.   Defendant Bedel denies the allegations in Paragraph 57. Defendant Adamo denies the

      allegations in Paragraph 57.

58.   Defendant Bedel denies the allegations in Paragraph 58. Defendant Adamo denies the

      allegations in Paragraph 58.




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59.   Defendant Bedel denies the allegations in Paragraph 59. Defendant Adamo denies the

      allegations in Paragraph 59.

              COUNT III (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)

60.   Defendants Bedel and Adamo incorporate every answer set forth above as though fully

      set forth herein.

61.   Defendant Bedel denies the allegations in Paragraph 61. Defendant Adamo denies the

      allegations in Paragraph 61.

62.   Defendant Bedel denies the allegations in Paragraph 62. Defendant Adamo denies the

      allegations in Paragraph 62.

63.   Defendant Bedel denies the allegations in Paragraph 63. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 63.

          COUNT IV (TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIPS)

64.   Defendants Bedel and Adamo incorporate every answer set forth above as though fully

      set forth herein.

65.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 65. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 65.

66.   Defendant Bedel denies the allegations in Paragraph 66. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 66.

67.   Defendant Bedel denies the allegations in Paragraph 67. Defendant Adamo denies the

      allegations in Paragraph 67.




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68.   Defendant Bedel denies the allegations in Paragraph 68. Defendant Adamo lacks

      knowledge or information sufficient to form a belief about the truth of the allegations in

      Paragraph 68.

  COUNT V (INVASION OF PRIVACY - PUBLIC DISCLOSURE OF PRIVATE FACTS - DEFENDANT
                                      KERNS)

69.   Defendants Bedel and Adamo incorporate every answer set forth above as though fully

      set forth herein.

70.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 70. Defendant Adamo denies the allegations in

      Paragraph 70.

71.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 71. Defendant Adamo denies the allegations in

      Paragraph 71.

72.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 72. Defendant Adamo denies the allegations in

      Paragraph 72.

73.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 73. Defendant Adamo denies the allegations in

      Paragraph 73.

74.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 74. Defendant Adamo denies the allegations in

      Paragraph 74.




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75.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 75. Defendant Adamo denies the allegations in

      Paragraph 75.

                   COUNT VI (BREACH OF CONTRACT – DEFENDANT LEAL)

76.   Defendants Bedel and Adamo incorporate every answer set forth above as though fully

      set forth herein.

77.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 77. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 77.

78.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 78. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 78.

79.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 79. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 79.

80.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 80. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 80.

81.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 81. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 81.

82.   Defendant Bedel lacks knowledge or information sufficient to form a belief about the

      truth of the allegations in Paragraph 82. Defendant Adamo lacks knowledge or

      information sufficient to form a belief about the truth of the allegations in Paragraph 82.


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                                COUNT VII (CIVIL CONSPIRACY)

83.    Defendants Bedel and Adamo incorporate every answer set forth above as though fully

       set forth herein.

84.    Defendant Bedel denies the allegations in Paragraph 84. Defendant Adamo denies the

       allegations in Paragraph 84.

85.    Defendant Bedel denies the allegations in Paragraph 85. Defendant Adamo denies the

       allegations in Paragraph 85.

86.    Defendant Bedel lacks knowledge or information sufficient to form a belief about the

       truth of the allegations in Paragraph 86. Defendant Adamo denies the allegations in

       Paragraph 86.

87.    Defendant Bedel denies the allegations in Paragraph 87. Defendant Adamo denies the

       allegations in Paragraph 87.

                                      AFFIRMATIVE DEFENSES

       Defendants assert the following affirmative defenses:

  1.     Plaintiff’s claims are barred by the statute of limitations.

  2.     Plaintiff’s claims are barred by laches.

  3.     Plaintiff’s claims are barred by estoppel.

  4.     Plaintiff’s claims are barred by the doctrine of unclean hands.

  5.     Plaintiff’s claims are barred by his assumption of risk by posting publicly on social

         media.

  6.     Plaintiff’s claims are barred by his consent to posting publicly on social media.

  7.     Plaintiff’s claims are barred by his contributory negligence.

  8.     Plaintiff’s claims are barred by failure to state a claim upon which relief can be granted.

  9.     Plaintiff’s claims are barred by failure to mitigate damages.


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  10.    Plaintiff’s claims are barred by failure to join a necessary party.

  11.    Plaintiff’s claims are barred by privilege.

  12.    Plaintiff’s claims are barred by immunity.

  13.    Plaintiff’s claims are barred by the single publication rule.

  14.    Plaintiff’s claims are barred because the alleged statements by Ms. Bedel and Ms.

         Adamo were opinion.

  15.    Plaintiff’s claims are barred because the alleged statements by Ms. Bedel and Ms.

         Adamo were not false.

  16.    Plaintiff’s claims are barred because the alleged statements by Ms. Bedel and Ms.

         Adamo were made in good faith.

  17.    Plaintiff’s claims are barred because the alleged statements by Ms. Bedel and Ms.

         Adamo were protected by the First Amendment.

  18.    Plaintiff’s claims are barred because the alleged statements by Ms. Bedel and Ms.

         Adamo were protected by the Noerr-Pennington doctrine.

                                          JURY DEMAND

        Ms. Bedel and Ms. Adamo demand a trial by jury on all issues within the complaint.

                                                       Respectfully submitted,

                                                       /s/Brian D. Bardwell
                                                       Brian D. Bardwell (0098423)
                                                       Speech Law, LLC
                                                       1265 West Sixth Street, Suite 400
                                                       Cleveland, OH 44113-1326
                                                       216-912-2195 Phone/Fax
                                                       brian.bardwell@speech.law

                                                       Attorney for Defendants Felicia Bedel and
                                                       Sam Adamo




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